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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                  No.    21-cr-00593 (ABJ)
MATTHEW EUGENE LOGANBILL,                 )                         re: 21-mj-00311 (GMH)
                                          )
            Defendant.                    )
__________________________________________)

                        MOTION TO VACATE STATUS HEARING

       Mr. Matthew Loganbill, through undersigned counsel, requests that this Honorable Court

vacate the status hearing currently set on January 7, 2022 in front of the Honorable Michael G.

Harvey, and as grounds states:

   1. On March 16, 2021, Mr. Loganbill was charged in U.S. District Court for the District of

       Columbia via criminal complaint with Obstruction of a Congressional Proceeding, in

       violation of 18 U.S.C. §1512(c)(2), Unlawful Entry, in violation of 18 U.S.C. §§

       1752(a)(1) and (a)(2); Aiding and Abetting, in violation of 18 U.S.C. § 2(a), and Violent

       Entry and Disorderly Conduct, in violation of 40 U.S.C. §§ 5104(e)(2)(D) and (G). See

       ECF No. 1.

   2. On March 29, 2021, Mr. Loganbill was arrested in Versailles, Missouri, his home

       jurisdiction, pursuant to the arrest warrant generated by the criminal complaint. See ECF

       No. 5. On the same day, the FBI executed a search warrant at Mr. Loganbill’s residence

       and seized his computer.

   3. On April 2, 2021, Mr. Loganbill had his initial appearance in U.S. District Court for the

       District of Columbia. At that time, he motioned the court to appoint counsel. The Court,

       upon representations made in his original financial affidavit, denied that request. It then

       set an Ascertainment of Counsel hearing for May 3, 2021. See Minute Entry.
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4. Following that initial appearance, Mr. Loganbill attempted to retain private counsel but

   due to insufficient funds, he was not able to secure representation.

5. Upon reflection of Mr. Loganbill’s financial affidavit, it is clear that his assets were not

   liquid, but were instead, estimated valuations of his home and business. To obtain the

   necessary liquid funds, his only option was to borrow against the valuations of his home

   and business through a bank-sponsored loan. However, his bank expressed that it would

   not authorize a loan unless or until he submits his personal and business 2020 federal

   income tax returns.

6. Mr. Loganbill was unable to submit his 2020 tax returns because the FBI is in possession

   of his computer, which contained the requisite financial records.

7. On May 3, 2020, Mr. Loganbill and undersigned explained this to Magistrate

   Meriweather and she, upon Mr. Loganbill’s motion, appointed undersigned as interim

   counsel. See Minute Entry. The Court then set this case for another Ascertainment of

   Counsel hearing on May 27, 2021.

8. On May 27, 2021, undersigned explained to the Court that the government was not

   willing to release Mr. Loganbill’s computer from the custody of the FBI unless he signed

   a specific stipulation agreement. Undersigned further advised the Court that Mr.

   Loganbill was counseled not to sign the stipulation. As a result, until his case is

   concluded, the government will retain possession of Mr. Loganbill’s computer and he

   will not have access to his financial records to file his 2020 taxes.

9. Because of these representations, Magistrate Meriwether extended undersigned’s

   appointment, and set the case for another Ascertainment of Counsel and Status hearing on

   July 12, 2021. She further advised the parties to address reconsideration of appointment



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   of counsel before Magistrate Harvey, since Magistrate Harvey made the initial

   ineligibility finding.

10. On June 11, 2021, undersigned submitted a motion for reconsideration of appointment of

   counsel. See ECF No. 10.

11. In July 2020 the Court held a series of status hearings to determine if Mr. Loganbill could

   avail himself of the Federal Public Defender’s services. During the course of these

   hearings, Mr. Loganbill communicated that he no longer owned the business that caused

   the Court to initially deny appointed counsel.

12. As a result of this new revelation, the Court allowed the Federal Public Defender to

   continue to represent Mr. Loganbill, finding that it could consider the argument that his

   assets were not liquid. It then set a status for January 7, 2022 to determine if, at that time,

   he would be required to reimburse the Federal Public Defenders for its representation.

   See Minute Entries.

13. On September 22, 2021, Mr. Loganbill was indicted by a federal grand jury for the same

   charges listed in his complaint. See EFC No. 15. Importantly, this included the felony

   offenses of 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 2.

14. As a result of the indictment, and because 18 U.S.C. § 922(n) prohibits possession of

   firearms and ammunition by a person under indictment for a felony, Mr. Loganbill

   completely dispossessed himself of all firearms. However, doing so necessarily disrupted

   his income, because prior to this indictment, he was employed as a federal firearms dealer

   and also worked at the gun range he previously owned. Therefore, the filing of the

   indictment forced Mr. Loganbill to divorce himself from the businesses completely and

   seek employment and income elsewhere.



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   15. On December 29, 2021, Mr. Loganbill submitted a signed, updated financial affidavit

       which lists his current assets and expenses. See Sealed Attachment A.

   16. Based on the representations made in that financial affidavit, Mr. Loganbill should be

       considered indigent and unable to afford private counsel.

   17. Therefore, the Federal Public Defenders Office for the District of Columbia, through

       undersigned and with the support of Mr. Loganbill, request that the current status set for

       January 7, 2022 be vacated and Mr. Loganbill be considered indigent for the purposes of

       representation, which would include no requirement of reimbursement for legal fees

       already incurred, or going forward.

   18. Mr. Loganbill has been advised and understands he is under a continuing obligation to

       submit new financial affidavits if his financial situation significantly changes during the

       pendency of the instant case.

   19. The United States has been consulted and takes no position on this motion.


       WHEREFORE, Mr. Loganbill asks this Honorable Court to vacate the status hearing

currently set for January 7, 2022 in front of the Honorable Harvey, and not require

reimbursement to the Federal Public Defenders for the District of Columbia for its services.



                                             Respectfully submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                             ____________/s/______________
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